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                                      11
4600 NORTHGATE BOULEVARD, SUITE 210




                                      12   Attorneys for Plaintiff,
   SACRAMENTO, CALIFORNIA 95834




                                           SHERI GRAVES, Executor
                                      13   and Individually
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                                                                    UNITED STATES DISTRICT COURT
                                      14
                                                                  CENTRAL DISTRICT OF CALIFORNIA
                                      15
                                      16   SHERI GRAVES, as Executor on Behalf of the PLAINTIFF’S VERIFIED COMPLAINT
                                           Estate of Shaylene Graves; and Individually, FOR DAMAGES:
                                      17
                                                                                           1. DEPRIVATION OF LIFE WITHOUT
                                                  Plaintiff,                                  DUE PROCESS (VIOLATION OF 42
                                      18
                                                                                              U.S.C. § 1983);
                                      19          v.                                       2. MUNICIPAL LIABILITY FOR
                                                                                              UNCONSTITUTIONAL CUSTOM,
                                      20   CALIFORNIA DEPARTMENT OF                           PRACTICE, OR POLICY (VIOLATION
                                           CORRECTIONS AND REHABILITATION                     OF 42 U.S.C. § 1983);
                                      21
                                           dba CALIFORNIA INSTITUTION FOR                  3. INTERFERENCE WITH PARENT-
                                      22   WOMEN; KIMBERLY HUGHES; and DOES                   CHILD RELATIONSHIP (VIOLATION
                                           1 through 10, inclusive,                           OF U.S.C. § 1983);
                                      23                                                   4. NEGLIGENCE;
                                                  Defendants.                              5. NEGLIGENT SUPERVISION;
                                      24
                                                                                           6. VIOLATION OF CALIFORNIA CIVIL
                                      25                                                      CODE SECTION 43;
                                                                                           7. VIOLATION OF CALIFORNIA CIVIL
                                      26                                                      CODE SECTION 52.1 (BANE ACT);
                                                                                           8. WRONGFUL DEATH (VIOLATION OF
                                      27                                                      C.C.P. § 377.60).
                                      28                                                   AND DEMAND FOR JURY TRIAL
                                                                                       1
                                           Pltf’s Verified Complaint for Damages                           Lawrance A. Bohm, Esq.
                                           Sheri Graves v. CDCR dba California Institution for Women      V. James DeSimone, Esq.
                                           Case No.: 5:17-cv-01086                                      Donald R. Williams, Jr., Esq.
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                                      1           Plaintiff Sheri Graves, mother of Decedent Shaylene Graves, individually,
                                      2    and in her capacity as the parent of Decedent Shaylene Graves, hereby respectfully
                                      3    submits this instant Complaint for Damages and Demand for Jury Trial, and alleges
                                      4    as follows based on information and belief.
                                      5                                           PARTIES
                                      6           1.     Plaintiff Sheri Malinda Graves (“Plaintiff”) was, at all times relevant
                                      7    to this action, the mother of Decedent Shaylene Antoinette Graves (“Graves”).
                                      8    Plaintiff brings this action in her individual capacity and in her capacity as the
                                      9    parent of Decedent Graves. Graves died on June 1, 2016 while in the California
                                      10   Institution for Women, which is operated by the State of California, specifically,
                                      11   the California Department of Corrections and Rehabilitation. At all times relevant
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                                      12   to this action, Plaintiff was a resident of the County of Riverside, State of California,
   SACRAMENTO, CALIFORNIA 95834




                                      13   and Decedent Graves was a resident of the County of Riverside, State of California.
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                                      14   At the time of her death, Graves was 27 years old.
                                      15          2.     Defendant California Department Of Corrections And Rehabilitation
                                      16   dba California Institution For Women (“CIW”) was, at all times relevant to this
                                      17   action, a state agency operating at 16756 Chino Corona Road, Corona, California
                                      18   92880. CIW was, at all times relevant to this action, an employer as defined by
                                      19   California law, and a state agency, as defined in California Government Code
                                      20   section 900.6. According to the CIW’s website, “The primary mission of the [CIW]
                                      21   is to provide a safe and secure environment for primarily Level I/III female
                                      22   offenders.” However, CIW was deliberately indifferent to inmates who were at
                                      23   great risk of harm based on threats of other inmates and deliberately chose not to
                                      24   provide a safe prison environment.
                                      25          3.     Defendant Warden Kimberly Hughes (“Warden Hughes”) was, at
                                      26   times relevant to this action, an employee of the CIW. Warden Hughes deliberately
                                      27   decided not to impose adequate discipline on her officers who committed killings,
                                      28   who committed other types of excessive force, and/or failed to prevent the killing
                                                                                       2
                                           Pltf’s Verified Complaint for Damages                            Lawrance A. Bohm, Esq.
                                           Sheri Graves v. CDCR dba California Institution for Women       V. James DeSimone, Esq.
                                           Case No.: 5:17-cv-01086                                       Donald R. Williams, Jr., Esq.
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                                      1    and/or excessive force, creating a culture of impunity within the CIW that
                                      2    encourages such violence and incidents of unreasonable force against inmates.
                                      3    Warden Hughes was deliberately indifferent to inmates who were at great risk of
                                      4    harm based on threats of other inmates and deliberately chose not to provide a safe
                                      5    prison environment.
                                      6           4.     This Civil Rights action seeks compensatory and punitive damages
                                      7    from Defendants for violating various rights under the United States Constitution
                                      8    and California State laws in connection with the death of Graves on June 1, 2016.
                                      9    Specifically, and most importantly, Defendants violated the Eighth Amendment to
                                      10   the United States Constitution, which prohibits “cruel and unusual punishment”
                                      11   against prison inmates. Furman v. Georgia, 408 U.S. 238 (1972).
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                                      12          5.     Defendants CIW and DOES 1 through 5 (“DOE Officers”)
   SACRAMENTO, CALIFORNIA 95834




                                      13   proximately caused Graves and Plaintiff’s injuries by integrally participating,
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                                      14   failing to intervene, and/or engaging in other acts and/or omissions around the time
                                      15   of Graves’ death that resulted in Graves’ death. CIW and DOE Officers are directly
                                      16   liable for Plaintiff’s injuries under Federal law pursuant to 42 U.S.C. § 1983. DOE
                                      17   Officers were deliberately indifferent to inmates who were at great risk of harm
                                      18   based on threats of other inmates and deliberately chose not to provide a safe prison
                                      19   environment.
                                      20          6.     Defendants CIW and DOES 6 through 10 also proximately caused
                                      21   Graves and Plaintiff’s injuries, and are liable under State and Federal law and the
                                      22   principles set forth in Monell v. Department of Social Services, 436 U.S. 658 (1978).
                                      23   CIW and DOES 6 through 10 were deliberately indifferent to inmates who were at
                                      24   great risk of harm based on threats of other inmates, and deliberately chose not to
                                      25   provide a safe prison environment.
                                      26   ///
                                      27   ///
                                      28   ///
                                                                                       3
                                           Pltf’s Verified Complaint for Damages                          Lawrance A. Bohm, Esq.
                                           Sheri Graves v. CDCR dba California Institution for Women     V. James DeSimone, Esq.
                                           Case No.: 5:17-cv-01086                                     Donald R. Williams, Jr., Esq.
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                                      1           7.     The policies and customs behind the killing of inmates such as Graves
                                      2    are fundamentally unconstitutional and constitute a menace of major proportions to
                                      3    the public. Accordingly, insofar as Plaintiff herein seeks, by means of this Civil
                                      4    Rights action, to hold accountable those responsible for the killing of Graves and to
                                      5    challenge the CIW’s unconstitutional policies and practices, this Civil Rights action
                                      6    is firmly in the public interest.
                                      7                                        JURISDICTION
                                      8           8.     Jurisdiction of this Court is invoked under 28 U.S.C. § 1331. This
                                      9    action at law for money damages arises under 42 U.S.C. § 1983 and the United
                                      10   States Constitution, the laws of the State of California, and common law principles
                                      11   to redress a deprivation under color of State law of rights, privileges and immunities
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                                      12   secured to Plaintiff by said statutes, and by the First, Fourth, and Fourteenth
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                                      13   Amendments of the United States Constitution.
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                                      14          9.     The incidents complained of herein occurred in Corona, California, at
                                      15   the CIW, in the County of Riverside. On June 1, 2016, at approximately 3:15 a.m.,
                                      16   Defendants killed Graves, or Defendants allowed Graves to be killed, by
                                      17   deliberately creating a penal environment in which Graves was at great risk of
                                      18   physical harm or death.
                                      19               ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
                                      20          10.    At all times herein mentioned, PLAINTIFF, parent of decedent
                                      21   GRAVES, was a resident of the State of California.
                                      22          11.    At all times herein mentioned, decedent GRAVES was a resident of
                                      23   the County of Riverside and an inmate at the CIW.
                                      24          12.    CIW is and was a duly organized public entity; form unknown,
                                      25   existing as such under the laws of the State of California. At all relevant times, CIW
                                      26   was the employer of WARDEN HUGHES and DOES 1 through 10, who were
                                      27   either CIW officers, or managerial, supervisorial, and policymaking employees of
                                      28   CIW, and are sued in their individual capacities for damages only.
                                                                                       4
                                           Pltf’s Verified Complaint for Damages                          Lawrance A. Bohm, Esq.
                                           Sheri Graves v. CDCR dba California Institution for Women     V. James DeSimone, Esq.
                                           Case No.: 5:17-cv-01086                                     Donald R. Williams, Jr., Esq.
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                                      1           13.    At all relevant times, WARDEN HUGHES and DOES 1 through 10
                                      2    were duly authorized employees and agents of the CIW, who were acting under
                                      3    color of law within the course and scope of their respective duties as CIW
                                      4    employees and agents, and with the complete authority and ratification of their
                                      5    principal, CIW.
                                      6           14.    In doing the acts, and failing and/or omitting to act, as hereinafter
                                      7    described, WARDEN HUGHES was, at all relevant times, the Warden that allowed
                                      8    the killing of GRAVES while employed by CIW. DOES 1 through 10 were each
                                      9    duly appointed, qualified and acting ranking officers, officials and employees of the
                                      10   CIW, also charged by law with the supervision, management, control, operation,
                                      11   and administration of the CIW. Each said Defendant was acting within the course
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                                      12   and scope of their respective said employment and under the color of State law, and
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                                      13   as the employee, agent and representative of each other Defendant.
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                                      14          15.    PLAINTIFF is informed and believes, and thereon alleges, that each
                                      15   of the Defendants designated as DOE are intentionally and negligently responsible
                                      16   in some manner for the events and happenings herein referred to, and thereby
                                      17   proximately caused injuries and damages as herein alleged. The true names and
                                      18   capacities of DOES 1 through 10, inclusive, and each of them, are not now known
                                      19   to PLAINTIFF who, therefore, sues said Defendants by such fictitious names, and
                                      20   PLAINTIFF will seek leave to amend this Complaint to show their true names and
                                      21   capacities when the same have been ascertained.
                                      22          16.    At all times mentioned herein, each and every Defendant was the agent
                                      23   of each and every other Defendant and had the legal duty to oversee and supervise
                                      24   the hiring, conduct, and employment of each and every Defendant.
                                      25          17.    On November 17, 2016, PLAINTIFF timely filed a Claim for
                                      26   Damages with the State of California pursuant to applicable sections of the
                                      27   California Government Code. (Attached hereto as Exhibit A.)
                                      28   ///
                                                                                       5
                                           Pltf’s Verified Complaint for Damages                          Lawrance A. Bohm, Esq.
                                           Sheri Graves v. CDCR dba California Institution for Women     V. James DeSimone, Esq.
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                                      1           18.     On December 2, 2016, PLAINTIFF’s claims were rejected by the State
                                      2    of California. (Attached hereto as Exhibit B.)
                                      3                   FACTS COMMON TO ALL CAUSES OF ACTION
                                      4           19.     On or about June 1, 2016, at approximately 3:15 a.m. in Corona,
                                      5    California, inmate GRAVES was killed while serving her prison sentence at the
                                      6    California Department of Corrections and Rehabilitation dba California Institution
                                      7    for Women. PLAINTIFF, mother of GRAVES, hereby acts within the full capacity
                                      8    of her rights as the surviving mother of Decedent.
                                      9           20.     GRAVES was born on July 18, 1988. GRAVES was the oldest of four
                                      10   (4) children with one (1) younger sister and two (2) younger brothers.
                                      11          21.     From August 2003 to June 2006, GRAVES attended Etiwanda High
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                                      12   School in Rancho Cucamonga, California. GRAVES did not obtain a high school
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                                      13   diploma. Next, GRAVES attended Chassey Adult School in order to complete the
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                                      14   remaining ten (10) credits needed to obtain her high school diploma.
                                      15          22.     On or about July 10, 2007, GRAVES gave birth to her son, Artistlee
                                      16   Cole Harris.
                                      17          23.     In or around May 2008, GRAVES was charged and adjudged, guilty
                                      18   of a crime, or crimes, in Riverside County. The Court sentenced GRAVES to six
                                      19   (6) years in prison. Additionally, San Bernardino County had an open warrant for
                                      20   GRAVES’ arrest that was related to the same crime or crimes.
                                      21          24.     GRAVES served her sentence at California Department of Corrections
                                      22   and Rehabilitation, Central California Women’s Facility (“CCWF”) in Chowchilla,
                                      23   California. While serving her sentence at CCWF, GRAVES communicated with
                                      24   her family multiple times per week, via telephone and received personal visits from
                                      25   her family approximately once (1) or twice (2) a month for the entire six (6) year
                                      26   sentence. GRAVES’ conversations with her family were usually positive and
                                      27   uplifting.
                                      28   ///
                                                                                       6
                                           Pltf’s Verified Complaint for Damages                          Lawrance A. Bohm, Esq.
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                                      1           25.    GRAVES carried that positive and uplifting spirit throughout her
                                      2    prison stay; she was well-liked by the prison employees as well as her fellow
                                      3    inmates. GRAVES made the most of her situation, earning her General Educational
                                      4    Development Certificate and developing a business plan to start a nonprofit
                                      5    organization called “Out of the Blue.” Out of the Blue would showcase the talents
                                      6    of former inmates as well as provide empowerment coaching, classes, and speeches
                                      7    to former inmates to help them transition back into society.
                                      8           26.    Approximately six (6) weeks prior to her scheduled release from
                                      9    CCFW, GRAVES was charged and adjudged guilty of a crime, or crimes, in San
                                      10   Bernardino County. The Court sentenced GRAVES to an additional two (2) years
                                      11   in prison. After her release from CCFW, in or around August 2014, GRAVES was
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                                      12   transferred to the San Bernardino County Jail in Rancho Cucamonga, California.
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                                      13   Then, in or around November 2014, GRAVES was transferred back to CCFW.
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                                      14          27.    In or around February 2015, GRAVES was transferred to CIW in
                                      15   Corona, California.
                                      16          28.    GRAVES was ready to connect with her son after missing out on the
                                      17   previous years of bonding time. GRAVES was also ready to execute her plans for
                                      18   her nonprofit organization. Anticipating release and, subsequently, being sentenced
                                      19   to prison for an additional two (2) years was difficult for GRAVES. However, just
                                      20   like her last prison sentence, GRAVES overcame the difficult realization that she
                                      21   would need to spend more time in prison and filled her heart with happiness and
                                      22   hope for her future after her release. GRAVES continued to be a shining light
                                      23   amongst her fellow inmates and prison employees and continued to work on her
                                      24   nonprofit organization with family and friends.
                                      25          29.    In or around February 2016, with the expected release date of July 27,
                                      26   2016, GRAVES prepared for her release. GRAVES looked forward to seeing her
                                      27   son and planning of her nonprofit organization. GRAVES reached out to family,
                                      28   friends, and third parties in an effort to plan for her life taking care of her son and
                                                                                       7
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                                      1    starting her organization. GRAVES made plans with her immediate family for her
                                      2    first day out, as she wanted to spend it with her family. GRAVES also took steps to
                                      3    get a job in order to support herself and her son. GRAVES was looking well into
                                      4    the future, with July 27, 2016 as her date, for a fresh start and new beginnings.
                                      5           30.    However, GRAVES’ future was cut short by her untimely and
                                      6    wrongful death because of, among other things, the negligence and negligent
                                      7    supervision of CIW personnel.
                                      8           31.    On or about May 27, 2016, just two (2) months before GRAVES’
                                      9    release date, she was placed with a new cellmate in the Harrison unit of the prison.
                                      10          32.    On or about May 28, 2016, one of GRAVES’ fellow inmates, and
                                      11   friends, overheard GRAVES’ cellmate talking on the phone to her male friend about
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                                      12   GRAVES. The inmate overheard GRAVES’ cellmate state to the male friend, “I
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                                      13   want to kill her!” GRAVES’ cellmate’s threats were also heard by other inmates in
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                                      14   the vicinity at the time of her phone call.
                                      15          33.    On or about May 29, 2016, GRAVES requested to be moved to another
                                      16   cell (a bed change) because her cellmate had threatened to kill her and she feared
                                      17   for her life. GRAVES placed her request to be moved to another cell with her Unit
                                      18   Officer, Sergeant Brown. GRAVES conveyed to Sergeant Brown that her cellmate
                                      19   had threatened to kill her and she feared for her life. Sergeant Brown deliberately,
                                      20   and without regard for GRAVES’ safety, denied GRAVES’ request. Later that same
                                      21   day, GRAVES placed another request to the Miller Unit Officer, Lieutenant
                                      22   Whitmore. GRAVES told Lieutenant Whitmore that her cellmate had threatened to
                                      23   kill her and she feared for her life. Lieutenant Whitmore deliberately, and without
                                      24   regard for GRAVES’ safety, denied GRAVES’ request.
                                      25          34.    At the time of these requests, GRAVES’ had already served
                                      26   approximately seven (7) years and ten (10) months of her eight (8) year sentence.
                                      27   GRAVES’ had seen many things happen in the prison facilities, including threats,
                                      28   fights, and deaths. GRAVES genuinely felt like her life was in danger.
                                                                                         8
                                           Pltf’s Verified Complaint for Damages                          Lawrance A. Bohm, Esq.
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                                      1            35.   Upon information and belief, on or about May 29, 2016, while
                                      2    GRAVES was requesting a cell transfer (bed change), her cellmate was walking
                                      3    through the Harrison unit carrying a broom, looking for GRAVES. At this point
                                      4    several inmates overheard GRAVES’ cellmate say, in reference to GRAVES, “I’m
                                      5    gonna kill this bitch! I’m gonna stab her!”
                                      6            36.   Upon information and belief, on or about May 29, 2016, GRAVES’
                                      7    fellow inmates witnessed GRAVES being threatened by her cellmate.
                                      8            37.   On or about the evening of May 30, 2016, GRAVES spoke to her
                                      9    mother, PLAINTIFF, on the phone. GRAVES told PLAINTIFF that she wanted
                                      10   money on her books to help pay for the upcoming barbeque sale. This sale was also
                                      11   a party for GRAVES, celebrating her upcoming birthday and release with her
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                                      12   friends in the prison.
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                                      13           38.   This celebration was to occur on or about the July 4, 2016. Upon
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                                      14   information and belief, GRAVES did not mention the threats on her life to
                                      15   PLAINTIFF because she did not want to alarm, worry, or frighten PLAINTIFF.
                                      16           39.   On or about May 31, 2016, GRAVES told officers that she did not
                                      17   want to lockdown with her cellmate because her cellmate continued to threaten to
                                      18   kill her and she still feared for her life. The officers told GRAVES that she could
                                      19   go to the “solitary confinement-like” housing unit. GRAVES did not want to go to
                                      20   that unit because of the negative consequences associated with going there. Being
                                      21   housed in that unit, negatively impacts inmates’ records which could delay their
                                      22   release dates. GRAVES did not want to go that route since she was being released
                                      23   soon.
                                      24           40.   At or around 8:45 p.m., GRAVES participated in the lockdown with
                                      25   her cellmate. Almost immediately after the lockdown, nearby inmates could hear
                                      26   loud fighting and banging sounds coming from GRAVES’ cell. Upon information
                                      27   and belief, the loud noises emanating from GRAVES’ cell were heard for hours,
                                      28   and not one prison employee went to GRAVES’ cell to investigate the cause of the
                                                                                       9
                                           Pltf’s Verified Complaint for Damages                          Lawrance A. Bohm, Esq.
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                                       1   noise. All of a sudden, the noise stopped and there was silence. The inmates nearby
                                       2   could see GRAVES’ cellmate pacing back and forth in the cell. Then, GRAVES’
                                       3   cellmate knocked on the door to call for help saying, “she isn’t breathing.”
                                       4          41.      On or about June 1, 2016, Emergency Medical Technicians arrived to
                                       5   GRAVES’ cell and tended to her. The inmates could see GRAVES’ body. The
                                       6   inmates noticed that GRAVES body was already blue and stiff-looking.
                                       7          42.      At approximately 3:15 a.m., on or about June 1, 2016, GRAVES was
                                       8   declared deceased.
                                       9          43.      Upon information and belief, CIW guards went around telling inmates
                                      10   and others that GRAVES committed suicide. However, inmates and some CIW
                                      11   employees did not believe GRAVES committed suicide. The investigation into the
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                                      12   cause of GRAVES’ death is still ongoing.
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                                      13                               FIRST CAUSE OF ACTION
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                                      14   Deprivation of Life Without Due Process; Violation of 42 U.S.C. section 1983
                                      15                                  (Against All Defendants)
                                      16          45.      PLAINTIFF repeats and re-alleges each and every allegation in the
                                      17   above paragraphs of this Complaint with the same force and effect as if fully set
                                      18   forth herein.
                                      19          46.      Defendants acted under color of State law within the course and scope
                                      20   of its duties as a correction and rehabilitation facility when it and/or its agents
                                      21   wrongfully killed GRAVES through deliberate indifference to known threats to her
                                      22   health and safety. GRAVES was unarmed and posed no imminent threat of danger
                                      23   to Defendants or anyone else.
                                      24          47.      PLAINTIFF has a cognizable interest under the Substantive Due
                                      25   Process Clause of the Fourteenth Amendment of the United States Constitution, to
                                      26   be free from state actions that deprive her of life, liberty, or property in such a
                                      27   manner as to shock the conscience, including but not limited to, unwarranted state
                                      28   interference in her relationship with her daughter, GRAVES.
                                                                                       10
                                           Pltf’s Verified Complaint for Damages                          Lawrance A. Bohm, Esq.
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                                       1          48.    As a result of Defendants and its agents failure to properly supervise
                                       2   employees and/or detainees and failure to investigate threats of great bodily harm
                                       3   and/or deadly force against GRAVES while acting under color of state law,
                                       4   Defendants and its agents caused and/or failed to prevent the death of GRAVES
                                       5   thereby depriving her of her life without due process of law. GRAVES
                                       6   communicated specific, plausible threats to her health and safety which were
                                       7   deliberately ignored by supervisory personnel of Defendants. Defendants’ actions
                                       8   also caused GRAVES extreme pain and suffering, loss of life, earning capacity and
                                       9   her relationship with her child, family, and friends. PLAINTIFF has thereby been
                                      10   deprived of her constitutional right of a familial relationship with her daughter.
                                      11          49.    Defendants and its agents, along with other undiscovered conduct,
4600 NORTHGATE BOULEVARD, SUITE 210




                                      12   shocked the conscience, in that deliberation was practical and Defendants and its
   SACRAMENTO, CALIFORNIA 95834




                                      13   agents acted with deliberate indifference to PLAINTIFF’s constitutional rights, and
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                                      14   with the purpose to harm unrelated to any legitimate law enforcement objective.
                                      15          50.    As a legal result of their conduct, Defendants are liable for GRAVES’
                                      16   injuries, either because they were integral participants in the deprivation of life
                                      17   without due process, or they failed to intervene to prevent those violations.
                                      18          51.    The claim against Defendants, CIW, WARDEN HUGHES, and DOES
                                      19   1 through 10, is based upon PLAINTIFF’s allegations that Defendants’ policies,
                                      20   practices or customs were a cause of the injuries suffered by GRAVES and
                                      21   PLAINTIFF herein, and as set forth above.
                                      22          52.    As a direct and legal result of Defendants’ acts and omissions,
                                      23   PLAINTIFF suffered damages, including, without limitation, loss of enjoyment of
                                      24   life, pain and suffering, physical injuries and sickness, emotional distress, medical
                                      25   expenses, funeral and burial expenses, attorneys' fees, costs of suit, other pecuniary
                                      26   losses not yet ascertained and the loss of GRAVES’ love, affection, society,
                                      27   support, and companionship.
                                      28   ///
                                                                                       11
                                           Pltf’s Verified Complaint for Damages                          Lawrance A. Bohm, Esq.
                                           Sheri Graves v. CDCR dba California Institution for Women     V. James DeSimone, Esq.
                                           Case No.: 5:17-cv-01086                                     Donald R. Williams, Jr., Esq.
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                                       1          53.      PLAINTIFF is informed and believes and thereon alleges that the acts
                                       2   of the individual defendants were willful, wanton, malicious, intentional,
                                       3   oppressive and done with willful and conscious disregard of PLAINTIFF’s rights,
                                       4   welfare and safety of those of her daughter, justifying the awarding of punitive and
                                       5   exemplary damages in an amount to be determined at time of trial.
                                       6          54.      PLAINTIFF brings this claim as the mother of GRAVES and also
                                       7   seeks attorneys’ fees under this claim.
                                       8                              SECOND CAUSE OF ACTION
                                       9         Municipal Liability for Unconstitutional Custom, Practice, or Policy;
                                      10                            Violation of 42 U.S.C. section 1983
                                      11                                  (Against all Defendants)
4600 NORTHGATE BOULEVARD, SUITE 210




                                      12          55.      PLAINTIFF repeats and re-alleges each and every allegation in the
   SACRAMENTO, CALIFORNIA 95834




                                      13   above paragraphs of this Complaint with the same force and effect as if fully set
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                                      14   forth herein.
                                      15          56.      Based upon the principles set forth in Monell v. New York City
                                      16   Department of Social Services, 436 U.S. 658 (1978), on and for some time prior to
                                      17   June 1, 2016 (and continuing to the present date), Defendants, CIW, WARDEN
                                      18   HUGHES, and DOES 1 through 10, acting with reckless and deliberate indifference
                                      19   to the rights and liberties of the public in general, and of PLAINTIFF and GRAVES,
                                      20   and of persons in their class, situation and comparable position in particular,
                                      21   knowingly maintained, enforced and applied an official recognized custom, policy,
                                      22   and practice of:
                                      23          a.       the failure to properly assess and/or supervise the detainees and/or
                                      24                   inmates and the use force or deadly force against GRAVES;
                                      25   ///
                                      26   ///
                                      27   ///
                                      28   ///
                                                                                       12
                                           Pltf’s Verified Complaint for Damages                          Lawrance A. Bohm, Esq.
                                           Sheri Graves v. CDCR dba California Institution for Women     V. James DeSimone, Esq.
                                           Case No.: 5:17-cv-01086                                     Donald R. Williams, Jr., Esq.
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                                       1          b.     the negligent tactics and handling of the situation with GRAVES,
                                       2                 including improper supervision of detainees and failure to investigate
                                       3                 complaints/reports of threats of great bodily harm or deadly force;
                                       4          c.     the failure to provide proper medical care and not take actions to
                                       5                 worsen or exacerbate GRAVES;
                                       6          d.     the deliberate refusal to place GRAVES in a safe penal environment
                                       7                 after specific threats of bodily harm and death were communicated to
                                       8                 supervisory personnel of the prison;
                                       9          e.     the placement of GRAVES in a cell with a cell-mate who presented a
                                      10                 foreseeable risk of severe bodily harm and death to GRAVES;
                                      11          f.     the failure to properly train, supervise and discipline employees,
4600 NORTHGATE BOULEVARD, SUITE 210




                                      12                 including the individual Defendants; and
   SACRAMENTO, CALIFORNIA 95834




                                      13          g.     the failure to provide timely medical assistance to GRAVES.
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                                      14          57.    By reason of the aforementioned policies and practices of Defendants,
                                      15   CIW, WARDEN HUGHES, and DOES 1 through 10, GRAVES was severely
                                      16   injured and subjected to pain and suffering and lost her life.
                                      17          58.    Defendants, CIW, WARDEN HUGHES, and DOES 1 through 10,
                                      18   together with various other officials, whether named or unnamed, had either actual
                                      19   or constructive knowledge of the deficient policies, practices and customs alleged
                                      20   in the paragraphs above. Despite having knowledge as stated above, these
                                      21   defendants condoned, tolerated and through actions and inactions thereby ratified
                                      22   such policies. Said defendants also acted with deliberate indifference to the
                                      23   foreseeable effects and consequences of these policies with respect to the
                                      24   constitutional rights of GRAVES, PLAINTIFF, and other individuals similarly
                                      25   situated.
                                      26   ///
                                      27   ///
                                      28   ///
                                                                                       13
                                           Pltf’s Verified Complaint for Damages                          Lawrance A. Bohm, Esq.
                                           Sheri Graves v. CDCR dba California Institution for Women     V. James DeSimone, Esq.
                                           Case No.: 5:17-cv-01086                                     Donald R. Williams, Jr., Esq.
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                                       1          59.      By perpetrating, sanctioning, tolerating and ratifying the outrageous
                                       2   conduct and other wrongful acts, Defendants, DOES 1 through 10, acted with
                                       3   intentional, reckless, and callous disregard for the life of GRAVES and for
                                       4   GRAVES’ and PLAINTIFF’s constitutional rights. Furthermore, the policies,
                                       5   practices, and customs implemented, maintained, and still tolerated by Defendants,
                                       6   CIW, WARDEN HUGHES, and DOES 1 through 10 were affirmatively linked to
                                       7   and were a significantly influential force behind the injuries of GRAVES and
                                       8   PLAINTIFF.
                                       9          60.      The actions of each of Defendants, DOES 1 through 10, were willful,
                                      10   wanton, oppressive, malicious, fraudulent, and extremely offensive and
                                      11   unconscionable to any person of normal sensibilities, and therefore warrants the
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                                      12   imposition of exemplary and punitive damages as to Defendants, DOES 1 through
   SACRAMENTO, CALIFORNIA 95834




                                      13   10.
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                                      14          61.      By reason of the aforementioned acts and omissions of Defendants,
                                      15   CIW, WARDEN HUGHES, and DOES 1 through 10, PLAINTIFF has suffered loss
                                      16   of love, companionship, affection, comfort, care, society, and future support.
                                      17          62.      Accordingly, Defendants, CIW, WARDEN HUGHES, and DOES 1
                                      18   through 10, each are liable to PLAINTIFF for compensatory damages under 42
                                      19   U.S.C. § 1983.
                                      20          63.      PLAINTIFF brings this claim as the mother of GRAVES and also
                                      21   seeks attorneys’ fees under this claim.
                                      22                               THIRD CAUSE OF ACTION
                                      23   Interference with Parent-Child Relationship; Violation of U.S.C. section 1983
                                      24                                  (Against All Defendants)
                                      25          64.      PLAINTIFF repeats and re-alleges each and every allegation in the
                                      26   above paragraphs of this Complaint with the same force and effect as if fully set
                                      27   forth herein.
                                      28   ///
                                                                                       14
                                           Pltf’s Verified Complaint for Damages                          Lawrance A. Bohm, Esq.
                                           Sheri Graves v. CDCR dba California Institution for Women     V. James DeSimone, Esq.
                                           Case No.: 5:17-cv-01086                                     Donald R. Williams, Jr., Esq.
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                                       1          65.    By wrongfully killing GRAVES, by killing her while she was
                                       2   incarcerated and unarmed, Defendants deprived PLAINTIFF of her Fourteenth
                                       3   Amendment right to a familial relationship with GRAVES. Defendants acted with
                                       4   deliberate indifference to PLAINTIFF’s rights and/or their unlawful conduct shocks
                                       5   the conscience.
                                       6          66.    Defendants’ interference with the parent-child relationship caused
                                       7   GRAVES extreme pain and suffering, loss of life and earning capacity. Defendants’
                                       8   actions also deprived PLAINTIFF of the love, companionship, support, society,
                                       9   care, and sustenance of her daughter, and she will continue to be so deprived for the
                                      10   remainder of her life.
                                      11          67.    As a result of their conduct, Defendants are liable for GRAVES’
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                                      12   injuries and loss of life, either because they were integral participants in the
   SACRAMENTO, CALIFORNIA 95834




                                      13   interference with the parental-child relationship, or because they failed to intervene
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                                      14   to prevent these violations.
                                      15          68.    The claim against Defendants CIW, WARDEN HUGHES, and DOES
                                      16   1 through 10 is based upon PLAINTIFF’s allegations that the CIW’s policies,
                                      17   practices or customs were a cause of the injuries suffered by GRAVES and
                                      18   PLAINTIFF herein, as set forth above.
                                      19          69.    As a direct and legal result of Defendants’ acts and omissions,
                                      20   PLAINTIFF suffered damages, including, without limitation, loss of earnings and
                                      21   earning capacity, loss of enjoyment of life, pain and suffering, physical injuries and
                                      22   sickness, emotional distress, medical expenses, funeral and burial expenses,
                                      23   attorneys' fees, costs of suit, other pecuniary losses not yet ascertained and the loss
                                      24   of her daughter’s love, affection, society, support, and companionship.
                                      25          70.    PLAINTIFF is informed and believes and thereon alleges that the acts
                                      26   of the individual Defendants were willful, malicious, intentional, oppressive,
                                      27   reckless and/or were done in willful and conscious disregard of PLAINTIFF’s
                                      28   rights, welfare and safety and those of her daughter, justify the awarding of punitive
                                                                                       15
                                           Pltf’s Verified Complaint for Damages                           Lawrance A. Bohm, Esq.
                                           Sheri Graves v. CDCR dba California Institution for Women      V. James DeSimone, Esq.
                                           Case No.: 5:17-cv-01086                                      Donald R. Williams, Jr., Esq.
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                                       1   and exemplary damages in an amount to be determined at time of trial.
                                       2            71.    PLAINTIFF brings this claim as successor-in-interest to GRAVES,
                                       3   and seeks both survival and wrongful death damages under Federal law for the
                                       4   violation of GRAVES’ rights. PLAINTIFF also seeks attorneys’ fees under this
                                       5   claim.
                                       6                              FOURTH CAUSE OF ACTION
                                       7                                          Negligence
                                       8                                   (Against All Defendants)
                                       9            72.    PLAINTIFF repeats and re-alleges each and every allegation in the
                                      10   above paragraphs of this Complaint with the same force and effect as if fully set
                                      11   forth herein.
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                                      12            73.    Defendants owed a duty of care toward GRAVES and were required
   SACRAMENTO, CALIFORNIA 95834




                                      13   to use reasonable diligence to ensure that GRAVES was not harmed by Defendants’
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                                      14   acts or omissions. Defendants’ actions and omissions were negligent and reckless,
                                      15   including but not limited to:
                                      16            a.     the failure to properly assess and/or supervise the employees and/or
                                      17                   detainees and the use force or deadly force against GRAVES;
                                      18            b.     the deliberately indifferent tactics and handling of the situation with
                                      19                   GRAVES, including improper supervision of employees and/or
                                      20                   detainees and failure to investigate complaints/reports of threats of
                                      21                   great bodily harm or deadly force;
                                      22            c.     the deliberate refusal to place GRAVES in a safe penal environment
                                      23                   after specific threats of bodily harm and death were communicated to
                                      24                   supervisory personnel of the prison;
                                      25            d.     the placement of GRAVES in a cell with a cell-mate who presented a
                                      26                   foreseeable risk of severe bodily harm and death to GRAVES;
                                      27            e.     the failure to provide proper medical care and not take actions to
                                      28                   worsen or exacerbate GRAVES;
                                                                                       16
                                           Pltf’s Verified Complaint for Damages                            Lawrance A. Bohm, Esq.
                                           Sheri Graves v. CDCR dba California Institution for Women       V. James DeSimone, Esq.
                                           Case No.: 5:17-cv-01086                                       Donald R. Williams, Jr., Esq.
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                                       1          f.     the failure to properly train, supervise and discipline employees,
                                       2                 including the individual Defendants;
                                       3          g.     the failure to provide timely medical assistance to GRAVES; and
                                       4          h.     the negligent hiring, retention and assignment of its employees,
                                       5                 including the individual defendants.
                                       6          74.    Defendants’ conduct caused GRAVES, without limitation, extreme
                                       7   pain and suffering, and loss of life, enjoyment of life and earning capacity.
                                       8   Defendants’ actions also deprived PLAINTIFF of the love, companionship,
                                       9   support, society, care, and sustenance of her daughter and she will continue to be
                                      10   so deprived for the remainder of her life.
                                      11          75.    In addition, at the aforementioned date, time and place, the Defendants
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                                      12   negligently, carelessly and without reasonable care, failed to properly supervise
   SACRAMENTO, CALIFORNIA 95834




                                      13   employees and/or detainees and failed to investigate threats of great bodily harm
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                                      14   and/or deadly force against GRAVES and deliberately refused to take appropriate
                                      15   responsive action.
                                      16          76.    As a result of their conduct, Defendants are liable for GRAVES’
                                      17   injuries because they were integral participants in the negligence, or because they
                                      18   failed to intervene to prevent these violations, or under the doctrine of respondeat
                                      19   superior.
                                      20          77.    Defendant CIW is vicariously liable under California Government
                                      21   Code section 815.2 for the acts of its employees Defendants Does 1 through 10,
                                      22   committed in the course and scope of their employment with the CIW.
                                      23          78.    PLAINTIFF brings this claim as the mother of GRAVES and also
                                      24   seeks attorneys’ fees under this claim.
                                      25   ///
                                      26   ///
                                      27   ///
                                      28   ///
                                                                                       17
                                           Pltf’s Verified Complaint for Damages                          Lawrance A. Bohm, Esq.
                                           Sheri Graves v. CDCR dba California Institution for Women     V. James DeSimone, Esq.
                                           Case No.: 5:17-cv-01086                                     Donald R. Williams, Jr., Esq.
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                                       1                               FIFTH CAUSE OF ACTION
                                       2                                    Negligent Supervision
                                       3                                  (Against All Defendants)
                                       4          79.      PLAINTIFF repeats and re-alleges each and every allegation in the
                                       5   above paragraphs of this Complaint with the same force and effect as if fully set
                                       6   forth herein.
                                       7          80.      Under California law, an employer can be held liable to a third person,
                                       8   PLAINTIFF, for negligently supervising an employee(s).
                                       9          81.      Defendants owed a duty of care toward PLAINTIFF with their actions
                                      10   directly taken towards GRAVES, as well as being required to use reasonable
                                      11   diligence to ensure that GRAVES was not harmed by Defendants’ employee(s)
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                                      12   and/or detainees and Defendants’ acts or omissions. Defendants’ employee(s)
   SACRAMENTO, CALIFORNIA 95834




                                      13   and/or detainees and Defendants’ actions and omissions were negligent and
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                                      14   reckless, including but not limited to:
                                      15          a.       the failure to properly assess and/or supervise the detainees and/or
                                      16                   inmates and the use of force or deadly force against GRAVES;
                                      17          b.       the negligent tactics and handling of the situation with GRAVES,
                                      18                   including improper supervision of detainees and failure to investigate
                                      19                   complaints/reports of threats of great bodily harm or deadly force;
                                      20          c.       the deliberate refusal to place GRAVES in a safe penal environment
                                      21                   after specific threats of bodily harm and death were communicated to
                                      22                   supervisory personnel of the prison;
                                      23          d.       the placement of GRAVES in a cell with a cell-mate who presented a
                                      24                   foreseeable risk of severe bodily harm and death to GRAVES;
                                      25          e.       the failure to provide proper medical care and not take actions to
                                      26                   worsen or exacerbate GRAVES;
                                      27          f.       the failure to properly train, supervise and discipline employees,
                                      28                   including the individual Defendants;
                                                                                       18
                                           Pltf’s Verified Complaint for Damages                            Lawrance A. Bohm, Esq.
                                           Sheri Graves v. CDCR dba California Institution for Women       V. James DeSimone, Esq.
                                           Case No.: 5:17-cv-01086                                       Donald R. Williams, Jr., Esq.
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                                       1          g.       the failure to provide timely medical assistance to GRAVES; and
                                       2          h.       the negligent hiring, retention and assignment of its employees,
                                       3                   including the individual defendants.
                                       4          82.      Defendants’ conduct caused GRAVES, without limitation, extreme
                                       5   pain and suffering, and loss of life, enjoyment of life and earning capacity.
                                       6   Defendants’ actions also deprived PLAINTIFF of the love, companionship,
                                       7   support, society, care, and sustenance of her daughter and she will continue to be
                                       8   so deprived for the remainder of her life.
                                       9          83.      In addition, at the aforementioned date, time and place, the Defendants
                                      10   negligently, carelessly and without reasonable care, failed to properly supervise
                                      11   employees and/or detainees and failed to investigate threats of great bodily harm
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                                      12   and/or deadly force against GRAVES and deliberately refused to take responsive
   SACRAMENTO, CALIFORNIA 95834




                                      13   or corrective action.
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                                      14          84.      As a result of their conduct, Defendants are liable for GRAVES’
                                      15   injuries because they were integral participants in the negligence, or because they
                                      16   failed to intervene to prevent these violations, or under the doctrine of respondeat
                                      17   superior.
                                      18          85.      Defendant CIW is vicariously liable under California Government
                                      19   Code section 815.2 for the acts of its employees Defendants Does 1 through 10,
                                      20   committed in the course and scope of their employment with the CIW.
                                      21          86.      PLAINTIFF brings this claim as the mother of GRAVES and also
                                      22   seeks attorneys’ fees under this claim.
                                      23                               SIXTH CAUSE OF ACTION
                                      24                       Violation of California Civil Code section 43
                                      25                                  (Against All Defendants)
                                      26          87.      PLAINTIFF repeats and re-alleges each and every allegation in the
                                      27   above paragraphs of this Complaint with the same force and effect as if fully set
                                      28   forth herein.
                                                                                       19
                                           Pltf’s Verified Complaint for Damages                            Lawrance A. Bohm, Esq.
                                           Sheri Graves v. CDCR dba California Institution for Women       V. James DeSimone, Esq.
                                           Case No.: 5:17-cv-01086                                       Donald R. Williams, Jr., Esq.
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                                       1          88.    California Civil Code section 43 provides: “[b]esides the personal
                                       2   rights mentioned or recognized in the Government Code, every person has, subject
                                       3   to the qualifications and restrictions provided by law, the right of protection from
                                       4   bodily restraint or harm, from personal insult, from defamation, and from injury to
                                       5   her personal relations.”
                                       6          89.    As alleged herein, and in violation of California Civil Code section 43,
                                       7   Defendants CIW, WARDEN HUGHES, and DOES 1 through 5 failed to provide
                                       8   GRAVES the right of protection from violence and bodily harm by failing to
                                       9   intervene and stop the killing of GRAVES. Defendants CIW, WARDEN HUGHES,
                                      10   and DOES 6 through 10’s refusal to take accountability for the Defendants’
                                      11   officers’ actions violates the law because Defendant DOES 1 through 5 were
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                                      12   employees, and were acting during the course and scope of employment when they
   SACRAMENTO, CALIFORNIA 95834




                                      13   failed to intervene and stop the killing of GRAVES.
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                                      14          90.    PLAINTIFF is informed and believes, and thereon alleges, that by
                                      15   Defendants’ tolerating and sanctioning Defendants’ officers’ actions (or inactions)
                                      16   and disregard of department policies and procedures, it was violative of section 43
                                      17   of the California Civil Code.
                                      18          91.    By the aforesaid acts and omissions of defendants, and each of them,
                                      19   PLAINTIFF has been directly and legally caused to suffer actual damages
                                      20   including, but not limited to, loss of earnings, reliance damages, costs of suit and
                                      21   other pecuniary loss in an amount not presently ascertained, but to be proven at trial.
                                      22          92.    As a further direct and legal result of the acts and conduct of
                                      23   defendants, and each of them, as aforesaid, PLAINTIFF has been caused to and did
                                      24   suffer and continues to suffer without limitation loss of enjoyment of life, pain and
                                      25   suffering, physical injuries and sickness, emotional distress, medical expenses,
                                      26   funeral and burial expenses, attorneys’ fees, costs of suit, other pecuniary losses not
                                      27   yet ascertained and the continued loss of her daughter’s love, affection, society,
                                      28   support, and companionship for the remainder of her life.
                                                                                       20
                                           Pltf’s Verified Complaint for Damages                           Lawrance A. Bohm, Esq.
                                           Sheri Graves v. CDCR dba California Institution for Women      V. James DeSimone, Esq.
                                           Case No.: 5:17-cv-01086                                      Donald R. Williams, Jr., Esq.
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                                       1          93.      As a direct and proximate cause of the aforementioned acts of
                                       2   Defendants’, PLAINTIFF was injured as set forth above, and is entitled to damages.
                                       3                             SEVENTH CAUSE OF ACTION
                                       4                Bane Act; Violation of California Civil Code section 52.1
                                       5                                  (Against All Defendants)
                                       6          94.      PLAINTIFF repeats and re-alleges each and every allegation in the
                                       7   above paragraphs of this Complaint with the same force and effect as if fully set
                                       8   forth herein.
                                       9          95.      As alleged herein, Defendants interfered by threats, intimidation, or
                                      10   coercion with GRAVES’ rights under State and Federal laws and under State and
                                      11   Federal Constitution including, without limitation, the right to be free from
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                                      12   excessive force, the right to due process, and the right to bodily integrity, including
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                                      13   their rights under California Civil Code section 43, California Penal Code sections
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                                      14   149, 240, and 242, and her rights under the First, Fourth and Fourteenth
                                      15   Amendments to the United States Constitution and her rights under Article 1,
                                      16   sections 1, 7 and/or 13 of the California Constitution.
                                      17          96.      Defendants’ conduct caused GRAVES extreme pain and suffering, and
                                      18   loss of life, earning capacity and her relationship with her child, parents, family and
                                      19   friends. Defendants’ actions also deprived PLAINTIFF of her daughter’s love,
                                      20   companionship, support, society, care, and she will continue to be so deprived for
                                      21   the remainder of her life.
                                      22          97.      As a result of their conduct, Defendants are liable for GRAVES’
                                      23   injuries, either because they were integral participants in the misconduct, or because
                                      24   they failed to intervene to prevent these violations, or under the doctrine of
                                      25   respondeat superior.
                                      26          98.      As a direct and legal result of Defendants’ acts and omissions,
                                      27   PLAINTIFF suffered damages, including, without limitation, loss of earnings and
                                      28   earning capacity, loss of enjoyment of life, pain and suffering, physical injuries and
                                                                                       21
                                           Pltf’s Verified Complaint for Damages                           Lawrance A. Bohm, Esq.
                                           Sheri Graves v. CDCR dba California Institution for Women      V. James DeSimone, Esq.
                                           Case No.: 5:17-cv-01086                                      Donald R. Williams, Jr., Esq.
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                                       1   sickness, emotional distress, medical expenses, funeral and burial expenses,
                                       2   attorneys' fees, costs of suit, other pecuniary losses not yet ascertained and the loss
                                       3   of GRAVES’ love, affection, society and companionship.
                                       4          99.      PLAINTIFF is informed and believes and thereon alleges that the acts
                                       5   of the individual Defendants were willful, malicious, intentional, oppressive,
                                       6   reckless and/or were done in willful and conscious disregard of the rights, welfare
                                       7   and safety of PLAINTIFF, thereby justifying the awarding of punitive and
                                       8   exemplary damages in an amount to be determined at time of trial.
                                       9          100. PLAINTIFF brings this claim as successor-in-interest to GRAVES,
                                      10   and seeks both survival and wrongful death damages under State law. PLAINTIFF
                                      11   also seeks reasonable attorneys’ fees under this claim.
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                                      12                              EIGHTH CAUSE OF ACTION
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                                      13                                      Wrongful Death;
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                                      14            Violation of California Code of Civil Procedure section 377.60
                                      15                                 (Against All Defendants)
                                      16          101. PLAINTIFF repeats and re-alleges each and every allegation in the
                                      17   above paragraphs of this Complaint with the same force and effect as if fully set
                                      18   forth herein.
                                      19          102. Defendants DOES 1 through 5 killed GRAVES despite the absence of
                                      20   an imminent threat of death or physical injury to themselves or others. GRAVES
                                      21   posed no threat to the officer’s safety or to the safety of others. Because GRAVES
                                      22   died while being unmarried, her mother GRAVES is the proper person to sue for
                                      23   her wrongful death under California state law.
                                      24          103. PLAINTIFF asserts wrongful death actions against all Defendants
                                      25   pursuant to California Code of Civil Procedure section 377.60, et seq. Per California
                                      26   Probate Code section 6402, subdivision (b), PLAINTIFF is, “…The issue of the
                                      27   decedent…” This claim is based upon the fact that Defendants’ negligent, reckless,
                                      28   deliberately indifferent, and wrongful acts and omissions, as alleged herein, were a
                                                                                       22
                                           Pltf’s Verified Complaint for Damages                           Lawrance A. Bohm, Esq.
                                           Sheri Graves v. CDCR dba California Institution for Women      V. James DeSimone, Esq.
                                           Case No.: 5:17-cv-01086                                      Donald R. Williams, Jr., Esq.
                                      Case 5:17-cv-01086-JGB-SP Document 1 Filed 05/31/17 Page 23 of 25 Page ID #:23




                                       1   direct and legal cause of GRAVES’ death and the resulting damages to
                                       2   PLAINTIFF. As a result of their conduct, Defendants are liable for PLAINTIFF’s
                                       3   injuries, either because they were integral participants in the wrongful conduct, or
                                       4   because they failed to intervene to prevent these violations.
                                       5          104. The Civil Rights violations alleged herein, as well as Defendants’ other
                                       6   tortious acts and omissions, and negligence under California Civil Code section
                                       7   1714, form the basis for this cause of action.
                                       8          105. PLAINTIFF is informed and believes and thereon alleges that the acts
                                       9   of the individual Defendants were willful, malicious, intentional, oppressive,
                                      10   reckless and/or were done in willful and conscious disregard of PLAINTIFF’s
                                      11   rights, welfare and safety and those of her daughter, justifying the awarding of
4600 NORTHGATE BOULEVARD, SUITE 210




                                      12   punitive and exemplary damages in an amount to be determined at time of trial.
   SACRAMENTO, CALIFORNIA 95834




                                      13          106. As a direct and legal result of Defendants’ acts and omissions,
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                                      14   PLAINTIFF suffered damages, including, without limitation, loss of earnings and
                                      15   earning capacity, support and benefits, loss of enjoyment of life, pain and suffering,
                                      16   physical injuries and sickness, emotional distress, medical expenses, funeral and
                                      17   burial expenses, attorneys' fees, costs of suit, other pecuniary losses not yet
                                      18   ascertained and the loss of her daughter’s love, affection, society and
                                      19   companionship.
                                      20          107. PLAINTIFF seeks both survival and wrongful death damages and all
                                      21   other damages and remedies available under State law.
                                      22                                 PRAYER FOR RELIEF
                                      23          WHEREFORE, Plaintiff demands judgment against Defendants, and each of
                                      24   them, as follows:
                                      25          1.     For General Damages according to proof;
                                      26          2.     For Special Damages according to proof;
                                      27          3.     For Punitive Damages as provided by law, in an amount to be proved
                                      28                 against each individual Defendant (not including CIW);
                                                                                       23
                                           Pltf’s Verified Complaint for Damages                          Lawrance A. Bohm, Esq.
                                           Sheri Graves v. CDCR dba California Institution for Women     V. James DeSimone, Esq.
                                           Case No.: 5:17-cv-01086                                     Donald R. Williams, Jr., Esq.
                                      Case 5:17-cv-01086-JGB-SP Document 1 Filed 05/31/17 Page 24 of 25 Page ID #:24




                                       1          4.     For Attorneys’ Fees and costs of suit;
                                       2          5.     For such other and further relief as the Court may deem proper; and
                                       3          6.     For such other and further relief as the Court may deem just, proper,
                                       4                 and appropriate.
                                       5
                                       6   Date: May 31, 2017                         By:      /s/ Donald R. Williams, Jr.
                                       7                                                    LAWRANCE A. BOHM, ESQ.
                                                                                            V. JAMES DESIMONE, ESQ.
                                       8
                                                                                            DONALD R. WILLIAMS, JR., ESQ.
                                       9
                                      10
                                                                                            Attorneys for Plaintiff,
                                                                                            SHERI GRAVES
                                      11
4600 NORTHGATE BOULEVARD, SUITE 210




                                      12                              DEMAND FOR JURY TRIAL
   SACRAMENTO, CALIFORNIA 95834




                                      13          Plaintiff hereby demands trial by jury for this matter.
       BOHM LAW GROUP, INC.




                                      14
                                      15
                                      16   Date: May 31, 2017                         By:      /s/ Donald R. Williams, Jr.
                                                                                            LAWRANCE A. BOHM, ESQ.
                                      17                                                    V. JAMES DESIMONE, ESQ.
                                      18                                                    DONALD R. WILLIAMS, JR., ESQ.
                                      19
                                                                                            Attorneys for Plaintiff,
                                      20                                                    SHERI GRAVES
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                                           Pltf’s Verified Complaint for Damages                             Lawrance A. Bohm, Esq.
                                           Sheri Graves v. CDCR dba California Institution for Women        V. James DeSimone, Esq.
                                           Case No.: 5:17-cv-01086                                        Donald R. Williams, Jr., Esq.
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